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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

SONY BMG MUSIC ENTERTAINMENT, a CIVIL ACTION No.
Delaware general partnership; WARNER
BROS. RECORDS INC., a Delaware
corporation; ATLANTIC RECORDING
CORPORATION, a Delaware corporation;
ARISTA RECORDS LLC, a Delaware limited
liability company; and UMG RECORDINGS,

INC., a Delaware corporation,
Plaintiffs,

Vv.

JOEL TENENBAUM

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Defendant. )

 

COMPLAINT FOR COPYRIGHT INFRINGEMENT

Plaintiffs assert the following claims against Defendant.
JURISDICTION AND VENUE

1. This is a civil action seeking damages and injunctive relief for copyright
infringement under the copyright laws of the United States (17 U.S.C. §101, et seq.).

2. This Court has jurisdiction under 17 U.S.C. § 101, et seq.; 28 U.S.C. §1331
(federal question); and 28 U.S.C. §1338(a) (copyright).

3. This Court has personal jurisdiction over the Defendant, and venue in this District
is proper under 28 U.S.C. § 1391(b) and 28 U.S.C. § 1400(a), in that the Defendant resides in
this District, and the acts of infringement complained of herein occurred in this District.

PARTIES
4. Plaintiff SONY BMG MUSIC ENTERTAINMENT is a Delaware general

partnership, with its principal place of business in the State of New York.

 
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5. Plaintiff Warner Bros. Records Inc. is a corporation duly organized and existing
under the laws of the State of Delaware, with its principal place of business in the State of
California.

6. Plaintiff Atlantic Recording Corporation is a corporation duly organized and
existing under the laws of the State of Delaware, with its principal place of business in the State
of New York.

7. Plaintiff Arista Records LLC is a limited liability company duly organized and
existing under the laws of the State of Delaware, with its principal place of business in the State
of New York.

8. Plaintiff UMG Recordings, Inc. is a corporation duly organized and existing

under the laws of the State of Delaware, with its principal place of business in the State of

California.
9. Plaintiffs are informed and believe that Defendant is an individual residing in this
District.
COUNT I
INFRINGEMENT OF COPYRIGHTS
10. Plaintiffs incorporate herein by this reference each and every allegation contained

in each paragraph above.

11. Plaintiffs are, and at all relevant times have been, the copyright owners or
licensees of exclusive rights under United States copyright with respect to certain copyrighted
sound recordings (the "Copyrighted Recordings"). The Copyrighted Recordings include but are
not limited to each of the copyrighted sound recordings identified in Exhibit A attached hereto,

each of which is the subject of a valid Certificate of Copyright Registration issued by the

 
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Register of Copyrights. In addition to the sound recordings listed on Exhibit A, Copyrighted
Recordings aiso include certain of the sound recordings listed on Exhibit B which are owned by
or exclusively licensed to one or more of the Plaintiffs or Plaintiffs’ affiliate record labels, and
which are subject to valid Certificates of Copyright Registration issued by the Register of
Copyrights.

12. Among the exclusive rights granted to each Plaintiff under the Copyright Act are
the exclusive rights to reproduce the Copyrighted Recordings and to distribute the Copyrighted
Recordings to the public.

13. Plaintiffs are informed and believe that Defendant, without the permission or
consent of Plaintiffs, has used, and continues to use, an online media distribution system to
download the Copyrighted Recordings, to distribute the Copyrighted Recordings to the public,
and/or to make the Copyrighted Recordings available for distribution to others. In doing so,
Defendant has violated Plaintiffs’ exclusive rights of reproduction and distribution. Defendant's
actions constitute infringement of Plaintiffs' copyrights and exclusive rights under copyright.

14. Plaintiffs have placed proper notices of copyright pursuant to 17 U.S.C. § 401 on
each respective album cover of each of the sound recordings identified in Exhibit A. These
notices of copyright appeared on published copies of each of the sound recordings identified in
Exhibit A. These published copies were widely available, and each of the published copies of
the sound recordings identified in Exhibit A were accessible by Defendant.

15. ‘Plaintiffs are informed and believe that the foregoing acts of infringement have
been willful and intentional, in disregard of and with indifference to the rights of Plaintiffs.

16. Asa result of Defendant's infringement of Plaintiffs' copyrights and exclusive

rights under copyright, Plaintiffs are entitled to statutory damages pursuant to 17 U.S.C. § 504(c)

 
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for Defendant's infringement of each of the Copyrighted Recordings. Plaintiffs further are
entitled to their attorneys' fees and costs pursuant to 17 U.S.C. § 505.

17. The conduct of Defendant is causing and, unless enjoined and restrained by this
Court, will continue to cause Plaintiffs great and irreparable injury that cannot fully be
compensated or measured in money. Plaintiffs have no adequate remedy at law. Pursuant to
17 U.S.C. §§ 502 and 503, Plaintiffs are entitled to injunctive relief prohibiting Defendant from
further infringing Plaintiffs’ copyrights, and ordering Defendant to destroy all copies of sound
recordings made in violation of Plaintiffs' exclusive rights.

WHEREFORE, Plaintiffs pray for judgment against Defendant as follows:

1, For an injunction providing:

"Defendant shall be and hereby is enjoined from directly or
indirectly infringing Plaintiffs' rights under federal or state law in
the Copyrighted Recordings and any sound recording, whether
now in existence or later created, that is owned or controlled by
Plaintiffs (or any parent, subsidiary, or affiliate record label of
Plaintiffs) (“Plaintiffs’ Recordings”), including without limitation
by using the Internet or any online media distribution system to
reproduce (7.2., download) any of Plaintiffs’ Recordings, to
distribute (.e., upload) any of Plaintiffs' Recordings, or to make
any of Plaintiffs' Recordings available for distribution to the
public, except pursuant to a lawful license or with the express
authority of Plaintiffs. Defendant also shall destroy all copies of
Plaintiffs’ Recordings that Defendant has downloaded onto any
computer hard drive or server without Plaintiffs’ authorization and
shall destroy all copies of those downloaded recordings transferred
onto any physical medium or device in Defendant’s possession,
custody, or control."

2. For statutory damages for each infringement of each Copyrighted
Recording pursuant to 17 U.S.C. Section 504.
3. For Plaintiffs’ costs in this action.

4, For Plaintiffs' reasonable attorneys' fees incurred herein.

 
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5. For such other and further relief, either at law or in equity, general or

special, to which they may be entitled.

Dated: August 7, 2007

By:

SONY BMG MUSIC ENTERTAINMENT;
WARNER BROS. RECORDS INC.:
ATLANTIC RECORDING CORPORATION;
ARISTA RECORDS LLC; and UMG
RECORDINGS, INC.

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